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                   Exhibit 19ZZB
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   SIMEI
Team for Success




                                                                  "■fe-::':.^ /-'
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                                                       Third Level: Recognition and Measurement Concepts • 39



                     ELEMENTS OF FINANCIAL STATEMENTS

         ETS. probable future economic benefits obtained or controlled by a particu-
   f entity as a result of past transactions or events.
    IABILITIES. Probable future sacrifices of economic benefits arising from pres-
      obligations of a particular entity to transfer assets or provide services to other
  ^
  ^tit     in the future as a result of past transactions or events.
  EOUITY. Residual interest in the assets of an entity that remains after deducting
  its liabilities. In a business enterprise, the equity is the ownership interest.
   INVESTMENTS BY OWNERS. Increases in net assets of a particular enterprise
  resulting from transfers to it from other entities of something of value to obtain
  or increase ownership interests (or equity) in it. Assets are most commonly re
  ceived as investments by owners, but that which is received may also include
  services or satisfaction or conversion of liabilities of the enterprise.
  DISTRIBUTIONS TO OWNERS. Decreases in net assets of a particular enter
  prise resulting from transferring assets, rendering services, or incurring liabilities
  by the enterprise to owners. Distributions to owners decrease ownership inter
  ests (or equity) in an enterprise.
  COMPREHENSIVE INCOME. Change in equity (net assets) of an entity during
  a period from transactions and other events and circumstances from nonowner
  sources. It includes all changes in equity during a period except those resulting
  from investments by owners and distributions to owners.
  REVENUES. Inflows or other enhancements of assets of an entity or settlement
  of its liabilities (or a combination of both) during a period from delivering or pro
  ducing goods, rendering services, or other activities that constitute the entity's
  ongoing major or central operations.
  EXPENSES. Outflows or other using up of assets or incurrences of liabilities (or
  a combination of both) during a period from delivering or producing goods, ren
  dering services, or carrying out other activities that constitute the entity's ongo
  ing major or central operations.
  GAINS. Increases in equity (net assets) from peripheral or incidental transactions
  of an entity and from all other transactions and other events and circumstances
  affecting the entity during a period except those that result from revenues or in
  vestments by owners.
  LOSSES. Decreases in equity (net assets) from peripheral or incidental transac
  tions of an entity and from all other transactions and other events and circum
  stances affecting the entity during a period except those that result from expenses
  or distributions to owners.9




THIRD LEVEL: RECOGNITION AND
MEASUREMENT CONCEPTS
The third level of the framework consists of concepts that implement the basic objec
tives of level one. These concepts explain how companies should recognize, measure, and
report financial elements and events. The FASB sets forth most of these in its Statement


'"Elements of Financial Statements," Statement of Financial Accounting Concepts No. 6
(Stamford, Conn.: FASB, December 1985), pp. ix and x.
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                                                                   Vo. 5, "Recognition and Measurement in Financial State-




                                         Basic Assumptions
  Objective^
  Describe the basic assumptions of
  accounting.
                                         each in turn.



  INTERNATIONAL
  INSIGHT

 Phase D of the conceptual
 framework convergence project
 addresses the reporting entity. An
 exposure draft is expected sometime
  in 2009.




                                  mmamassumption.10



                                 WHOSE COMPANY IS IT?




  What do the                    many other self-dealings, the company guaranteed over
  numbers mean?                  W. RYGrace used company funds to W^S^                                            . Additionally,




                                                          3E
                                       -I* concept of the entity is «!«"^
                                       is now harder. Public companies often                Increasingly, companies form and
                                       ventures, licensing arrangements, and ot           ^ . ma£ of months or weeks.
                                       dissolve joint ventures or customer-suppler.                 account for the entity. See
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   Going Concern Assumption
   Most accounting methods rely on the going concern assumption—that the company
   ynll have a long life. Despite numerous business failures, most companies have a fairly
  high continuance rate. As a rule, we expect companies to last long enough to fulfill
  their objectives and commitments.
       This assumption has significant implications. The historical cost principle would
  be of limited usefulness if we assume eventual liquidation. Under a liquidation ap
  proach, for example, a company would better state asset values at net realizable value
  (sales price less costs of disposal) than at acquisition cost. Depreciation and amortiza
  tion policies are justifiable and appropriate only if we assume some permanence to
  the company. If a company adopts the liquidation approach, the current/non-current
  classification of assets and liabilities loses much of its significance. Labeling anything
  a fixed or long-term asset would be difficult to justify. Indeed, listing liabilities on the
  basis of priority in liquidation would be more reasonable.
      The going concern assumption applies in most business situations. Only where
  liquidation appears imminent is the assumption inapplicable. In these cases a total
  revaluation of assets and Labilities can provide information that closely approximates
  the company's net realizable value. You will learn more about accounting problems re
 lated to a company in liquidation in advanced accounting courses.
                                                                                              International
 Monetary Unit Assumption                                                                   : Insight
 The monetary unit assumption means that money is the common denominator of                 Due to their experiences
 economic activity and provides an appropriate basis for accounting measurement             with persistent inflation, several
 and analysis. That is, the monetary unit is the most effective means of expressing         South American countries produce
 to interested parties changes in capital and exchanges of goods and services. The          "constant-currency" financial reports.
 monetary unit is relevant, simple, universally available, understandable, and              Typically, companies in these countries
 useful. Application of this assumption depends on the even more basic assump               use a general price-level index to

 tion that quantitative data are useful in communicating economic information and           adjust for the effects of inflation.
 in making rational economic decisions.
      In the United States, accounting ignores price-level changes (inflation and defla
 tion) and assumes that the unit of measure—the dollar—remains reasonably stable. We
 therefore use the monetary unit assumption to justify adding 1980 dollars to 2010 dol
 lars without any adjustment. The FASB in SFAC No. 5 indicated that it expects the
 dollar, unadjusted for inflation or deflation, to continue to be used to measure items
 recognized in financial statements. Only if circumstances change dramatically (such as
if the United States experiences high inflation similar to that in many South American                    Accounting for
countries) will the FASB again consider "inflation accounting."                                           Changing Prices

Periodicity Assumption
To measure the results of a company's activity accurately, we would need to wait un
til it liquidates. Decision makers, however, cannot wait that long for such information.
Users need to know a company's performance and economic status on a timely basis
so that they can evaluate and compare firms, and take appropriate actions. Therefore,
companies must report information periodically.
    The periodicity (or time period) assumption implies that a company can divide
its economic activities into artificial time periods. These time periods vary, but the most
common are monthly, quarterly, and yearly.
   The shorter the time period, the more difficult it is to determine the proper net in
come for the period. A month's results usually prove less reliable than a quarter's re
sults, and a quarter's results are likely to be less reliable than a year's results. Investors
desire and demand that a company quickly process and disseminate information. Yet
the quicker a company releases the information, the more likely the information will
include errors. This phenomenon provides an interesting example of the trade-off
between relevance and reliability in preparing financial data.
    The problem of defining the time period becomes more serious as product cycles
shorten and products become obsolete more quickly. Many believe that, given technology
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                                  advances, companies need to provide more online, real-time financial information to
                                  ensure the availability of relevant information.


                                        Basic Principles of Accounting
 Objectives
 Explain the application of the basic   We generally use four basic principles of accounting to record and report trans
 principles of accounting.              actions: (1) measurement, (2) revenue recognition, (3) expense recognition, and
                                        (4) full disclosure. We look at each in turn.


                                  Measurement Principle
                                  We presently have a "mixed-attribute" system that permits the use of various measure
                                  ment bases. The most commonly used measurements are based on historical cost and
                                  fair value. Here, we discuss each.

                                  Historical Cost. GAAP requires that companies account for and report many assets and
                                  liabilities on the basis of acquisition price. This is often referred to as the historical cost
                                  principle. Historical cost has an important advantage over other valuations: It is gen
                                   erally thought to be reliable.
                                      To illustrate this advantage, consider the problems if companies select current selling
                                  price instead. Companies might have difficulty establishing a value for unsold items.
                                  Every member of the accounting department might value the assets differently. Further,
                                  how often would it be necessary to establish sales value? All companies close their ac
                                  counts at least annually. But some compute their net income every month. Those compa
                                  nies would have to place a sales value on every asset each time they wished to determine
                                   income. Critics raise similar objections against current cost (replacement cost, present
                                   value of future cash flows) and any other basis of valuation except historical cost.
                                       What about liabilities? Do companies account for them on a cost basis? Yes, they
                                   do. Companies issue liabilities, such as bonds, notes, and accounts payable, in exchange
                                   for assets (or services), for an agreed-upon price. This price, established by the ex
                                   change transaction, is the "cost" of the liability. A company uses this amount to record
                                   the liability in the accounts and report it in financial statements. Thus, many users pre
                                   fer historical cost because it provides them with a verifiable benchmark for measur
                                   ing historical trends.

                                   Fair Value. Fair value is defined as "the price that would be received to sell an asset or
                                   paid to transfer a liability in an orderly transaction between market participants at the
                                   measurement date." Fair value is therefore a market-based measure. [1] Recently GAAP
      See the FASB
      Codification section
                                   has increasingly called for use of fair value measurements in the financial statements.
      (page 53).                   This is often referred to as the fair value principle. Fair value information may be more
                                   useful than historical cost for certain types of assets and liabilities and in certain indus
                                   tries. For example, companies report many financial instruments, including derivatives,
                                   at fair value. Certain industries, such as brokerage houses and mutual funds, prepare
                                   their basic financial statements on a fair value basis.
                                       At initial acquisition, historical cost equals fair value. In subsequent periods, as
                                   market and economic conditions change, historical cost and fair value often diverge.
                                   Thus, fair value measures or estimates often provide more relevant information about
                                   the expected future cash flows related to the asset or liability. For example, when long-
                                   lived assets decline in value, a fair value measure determines any impairment loss. The
                                   FASB believes that fair value information is more relevant to users than historical cost.
                                   Fair value measurement, it is argued, provides better insight into the value of a com
                                   pany's asset and liabilities (its financial position) and a better basis for assessing future
                                   cash flow prospects.
                                       Recently the Board has taken the additional step of giving companies the option
                                   to use fair value (referred to as the fair value option) as the basis for measurement
                                   of financial assets and financial liabilities. [2] The Board considers fair value more
                                    relevant than historical cost because it reflects the current cash equivalent value ot

                                                                                                                                    i i
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               cial instruments. As a result companies now have the option to record fair value
to
            their accounts for most financial instruments, including such items as receivables,
          ^vestments, and debt securities.
             Use of fair value in financial reporting is increasing. However, measurement based
             fair value introduces increased subjectivity into accounting reports, when fair value
1S-
          •nf rmarion is not readily available. To increase consistency and comparability in fair
nd
          "atue measures, the FASB established a fair value hierarchy that provides insight into the
          Vriority of valuation techniques to use to determine fair value. As shown in Illustra
          tion 2-3, the fair value hierarchy is divided into three broad levels.
                                                                                                             ILLUSTRATION 2-3
re                        Level 1: Observable inputs that reflect quoted          Most Reliable              Fair Value Hierarchy
nd                          prices for identical assets or liabilities in
                            active markets.
                          Level 2: Inputs other than quoted prices
                            included in Level 1 that are observable for
nd                          the asset or liability either directly or through
3St                         corroboration. with observable data.
                          Levei 3: Unobservable inputs (for example,
                            a company's own data or assumptions).                 Least Reliable



ns.          As Illustration 2-3 indicates, Level 1 is the most reliable because it is based on
ier,      quoted prices, like a closing stock price in the Wall Street Journal. Level 2 is the next
ac-       most reliable and would rely on evaluating similar assets or liabilities in active mar
?a-       kets. At the least-reliable level, Level 3, much judgment is needed based on the best in
ine       formation available, to arrive at a relevant and reliable fair value measurement.
               It is easy to arrive at fair values when markets are liquid with many traders, but
          fair value answers are not readily available in other situations. For example, how do
ley       you value the mortgage assets of subprime lenders, like Countrywide and New Century,
ige       given that the market for these securities has essentially disappeared? A great deal of
ex-       expertise and sound judgment will be needed to arrive at appropriate answers. GAAP
>rd       also provides guidance on estimating fair values when market-related data is not avail
re-       able. In general, these valuation issues relate to Level 3 fair value measurements. These
ur-       measurements may be developed using expected cash flow and present value tech
          niques, as described in Statement of Financial Accounting Concepts No. 7, "Using Cash
          Flow Information and Present Value in Accounting," discussed in Chapter 6.
 or           As indicated above, we presently have a "mixed-attribute" system that permits the
the       use of historical cost and fair value. Although the historical cost principle continues to
AP        be an important basis for valuation, recording and reporting of fair value information
its.      is increasing. The recent measurement and disclosure guidance should increase con
Dre       sistency and comparability when fair value measurements are used in the financial
us        statements and related notes.
 es,

are
          Revenue Recognition Principle
          A crucial question for many companies is when to recognize revenue. Revenue recogni
 as
          tion generally occurs (1) when realized or realizable and (2) when earned. This approach
          has often been referred to as the revenue recognition principle.
ge-
              A company realizes revenues when it exchanges products (goods or services), mer
5Ut
          chandise, or other assets for cash or claims to cash. Revenues are realizable when assets
Tie
          received or held are readily convertible into cash or claims to cash. Assets are readily
          convertible when they are salable or interchangeable in an active market at readily
)St.
 m-
           determinable prices without significant additional cost.
jre
           "For major groups of assets and liabilities, companies must disclose: (1) the fair value
           measurement and (2) the fair value hierarchy level of the measurements as a whole, classified
 ion       by Level 1, 2, or 3. Given the judgment involved, it follows that the more a company depends
 snt       on Level 3 to determine fair values, the more information about the valuation process the
 are
           company will need to disclose. Thus, additional disclosures are required for Level 3
           measurements; we discuss these disclosures in more detail in subsequent chapters.
     of
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                                                                                                                          1
                           In addition to the first test (realized or realizable), a company delays recognition
                      of revenues until earned. Revenues are considered earned when the company substan
                      tially accomplishes what it must do to be entitled to the benefits represented by the
                      revenues.12 Generally, an objective test, such as a sale, indicates the point at which a
                      company recognizes revenue. The sale provides an objective and verifiable measure of
                      revenue—the sales price. Any basis for revenue recognition short of actual sale opens
                      the door to wide variations in practice. Recognition at the time of sale provides a uni
                      form and reasonable test.
                          However, as Illustration 2-4 shows, exceptions to the rule exist. We discuss these
                      exceptions in the following sections.



ILLUSTRATION 2-4
Timing of Revenue                                                              /Well shipthe\
                                                                               [goods dits week.)
Recognition                                                                    V Ttaiksfor /


                                                    End                   1 ii foTTime
                                                    of production^,,^——1 rvS *k           1 of sale



                             During       *
                             production S
                                                                                                         >^   Time cash
                                                                                                          >vreceived

                                                Revenue should be recognized in the accounting period
                                                   in which it is earned (generally at point of sale).




                      During Production. A company can recognize revenue before it completes the job in
                      certain long-term construction contracts. In this method, a company recognizes rev
                      enue periodically, based on the percentage of the job it has completed. Although tech
                      nically a transfer of ownership has not occurred, the earning process is considered sub
                      stantially completed at various stages of construction. If it is not possible to obtain
                      dependable estimates of cost and progress, then a company delays revenue recogni
                      tion until it completes the job.

                      At End of Production. At times, a company may recognize revenue after completion
                      of the production cycle but before the sale takes place. This occurs if products or other
                      assets are salable in an active market at readily determinable prices without significant
                      additional cost. An example is the mining of certain minerals. Once a company mines
                      the mineral, a ready market at a quoted price exists. The same holds true for some agri
                      cultural products.


                       Upon Receipt of Cash. Receipt of cash is another basis for revenue recognition. Com
                      panies use the cash-basis approach only when collection is uncertain at the time of sale.
                           One form of the cash basis is the installment-sales method. Here, a company re
                       quires payment in periodic installments over a long period of time. Its most common
                       use is in retail, such as for farm and home equipment and furnishings. Companies fre
                       quently justify the installment-sales method based on the high risk of not collecting an
                       account receivable. In some instances, this reasoning may be valid. Generally, though,


                       12"Recognition and Measurement in Financial Statements of Business Enterprises," Statement
                       of Financial Accounting Concepts No. 5 (Stamford, Conn.: FASB, December 1984), par. 83(a)
                       and (b). The FASB and IASB are working on a joint revenue recognition project, which will
                       likely change from revenue recognition criteria based on completing the earnings process to
                       criteria more aligned with changes in assets and liabilities. See http://www.fasb.org/project/
                       revenue_recognition.shtml.
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f a sale has been completed, the company should recognize the sale; if bad debts are
xpected, the company should record them as separate estimates.
    To summarize, a company records revenue in the period when realized or realizable
and when earned. Normally, this is the date of sale. But circumstances may dictate
application of the percentage-of-completion approach, the end-of-production approach,
or the receipt-of-cash approach.

Expense Recognition Principle
As indicated in the discussion of financial statement elements, expenses are defined as
outflows or other "using up" of assets or incurring of liabilities (or a combination of
both) during a period as a result of delivering or producing goods and/or rendering
services. It follows then that recognition of expenses is related to net changes in assets
and earning revenues. In practice, the approach for recognizing expenses is, "Let the
expense follow the revenues." This approach is the expense recognition principle.
   To illustrate, companies recognize expenses not when they pay wages or make a
product, but when the work (service) or the product actually contributes to revenue.
Thus, companies tie expense recognition to revenue recognition. That is, by matching
efforts (expenses) with accomplishment (revenues), the expense recognition princi
ple is implemented in accordance with the definition of expense (outflows or other us
ing up of assets or incurring of liabilities).13
    Some costs, however, are difficult to associate with revenue. As a result, some other
approach must be developed. Often, companies use a "rational and systematic" allo
cation policy that will approximate the expense recognition principle. This type of ex
pense recognition involves assumptions about the benefits that a company receives as
well as the cost associated with those benefits. For example, a company like Intel or
Motorola allocates the cost of a long-lived asset over all of the accounting periods dur
ing which it uses the asset because the asset contributes to the generation of revenue
throughout its useful life.
    Companies charge some costs to the current period as expenses (or losses) simply
because they cannot determine a connection with revenue. Examples of these types of
costs are officers' salaries and other administrative expenses.
    Costs are generally classified into two groups: product costs and period costs.
Product costs, such as material, labor, and overhead, attach to the product. Companies
carry these costs into future periods if they recognize the revenue from the product in
subsequent periods. Period costs, such as officers' salaries and other administrative
expenses, attach to the period. Companies charge off such costs in the immediate
period, even though benefits associated with these costs may occur in the future. Why?
Because companies cannot determine a direct relationship between period costs and
revenue. Illustration 2-5 summarizes these expense recognition procedures.


                                                                                                   ILLUSTRATION 2-5
                                                                  Recognition
 Type of Cost                   Relationship                                                       Expense Recognition
                                Direct relationship between       Recognize in period of revenue
 Product costs:
   • Material                      cost and revenue.                (matching).

   • Labor
   • Overhead
                                                                  Expense as incurred.
 Period costs:                  No direct relationship
   • Salaries                      between cost
   • Administrative costs          and revenue.




"This approach is commonly referred to as the matching principle. However, there is some
debate about the conceptual validity of the matching principle. A major concern is that
matching permits companies to defer certain costs and treat them as assets on the balance
sheet. In fact, these costs may not have future benefits. If abused, this principle permits the
balance sheet to become a "dumping ground" for unmatched costs.
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                                            viding W°-af" *=''^StrS Xo" ^ full disclosure principle, i. rec
                                            cisions of an mformed user. Often reterre                               ^ ^^^ Kpor




                                             statement, statement of cash flows, and                     To                 in the main




                                              of *e SEC noted, "Good                                      anol«verb!" T1.US, for ex-
                                              adiechve or adverb can                                     ^sleading, even if a company



                                               provide the additional informal**.                             Notes can be partially or lo
                                               be quantifiable, nor does it need to q                         ^ accounnng policies and
                                               Jy narradve. Examples of note;, mclude                         ^           e^Lanons of
                                               methods used in measunng ^ *?££                                ,00 voluminous for inclusion



                                                                                    may

                                                                  from ftat adop«d m                                          , oU and gas
                                                en,




                                                                       formation may




                                                                ss^on^t^Spy
                                                 with other
                                                              facets of full disclosure, in Chapters 4, 5, and 24




                 Objective^
                 Describe the impact that constraints
                 have on reporting accounting
                  information.




.     1
                                                   14SFAC No. 5, par. 63.
    . 1
                                                                 i nira Level: Kecognition and Measurement Concepts ■ 47

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 YOU MAY NEED A MAP

 Beyond touting nonfinancial measures to investors (see box on page 37), many companies increas
 ingly promote the performance of their companies through the reporting of various "pro-forma"
 earnings measures. A recent survey of newswire reports found 36 instances of the reporting of pro-
 forma measures in just a three-day period.                                                                        What do the
     Pro-forma measures are standard measures (such as earnings) that companies adjust, usually                    numbers mean?
 for one-time or nonrecurring items. For example, companies usually adjust earnings for the effects
 of an extraordinary item. Such adjustments make the numbers more comparable to numbers re
 ported in periods without the unusual item.
     However, rather than increasing comparability, it appears that some companies use pro-forma
 reporting to accentuate the positive in their results. Examples include Yahoo Inc. and Cisco, which
define pro-forma income after adding back payroll tax expense. Level 8 Systems transformed an
operating loss into a pro-forma profit by adding back expenses for depreciation and amortization
of intangible assets.
     Lynn Turner, former Chief Accountant at the SEC, calls such earnings measures EBS—"Every
thing but Bad Stuff." To provide investors a more complete picture of company profitability, not the
story preferred by management, the SEC issued Regulation G (REG G). REG G requires companies
to reconcile non-GAAP financial measures to GAAP, thereby giving investors a roadmap to analyze
adjustments companies make to their GAAP numbers to arrive at pro-forma results.

Sources: Adapted from Gretchen Morgenson, "How Did They Value Stocks? Count the Absurd Ways," New York
Times (March 18,2001), section 3, p. 1; and Gretchen Morgenson, "Expert Advice: Focus on Profit," New York Times
(March 18, 2001), section 3, p. 14. See also SEC Regulation G, "Conditions for Use of Non-GAAP Financial
Measures, "Release No. 33-8176 (March 28, 2003).




Cost-Benefit Relationship
Too often, users assume that information is free. But preparers and providers of ac
counting information know that it is not. Therefore, companies must consider the cost-
benefit relationship: They must weigh the costs of providing the information against
the benefits that can be derived from using it. Rule-making bodies and governmental agen
cies use cost-benefit analysis before making final their informational requirements. In
order to justify requiring a particular measurement or disclosure, the benefits perceived
to be derived from it must exceed the costs perceived to be associated with it.
     A corporate executive made the following remark to the FASB about a proposed
rule: "In all my years in the financial arena, I have never seen such an absolutely ridicu
lous proposal.... To dignify these 'actuarial' estimates by recording them as assets and
liabilities would be virtually unthinkable except for the fact that the FASB has done
equally stupid things in the past           For God's sake, use common sense just this once."15
Although extreme, this remark indicates the frustration expressed by members of the
business community about rule-making, and whether the benefits of a given pronounce
ment exceed the costs.
    The difficulty in cost-benefit analysis is that the costs and especially the benefits
are not always evident or measurable. The costs are of several kinds: costs of collecting
and processing, of disseminating, of auditing, of potential litigation, of disclosure to
competitors, and of analysis and interpretation. Benefits to preparers may include
greater management control and access to capital at a lower cost. Users may receive
better information for allocation of resources, tax assessment, and rate regulation. As
noted earlier, benefits are generally more difficult to quantify than are costs.
    The recent implementation of the provisions of the Sarbanes-Oxley Act of 2002
illustrates the challenges in assessing costs and benefits of standards. One study
estimated the increased costs of complying with the new internal-control standards
related to the financial reporting process to be an average of $7.8 million per company.

 "Decision-Usefulness: The Overriding Objective," FASB Viewpoints (October 19,1983), p. 4.
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                         However, the study concluded that "... quantifying the benefits of improved more
                         reliable financial reporting is not fully possible."
                             Despite the difficulty in assessing the costs and benefits of its rules, the FASB at
                         tempts to determine that each proposed pronouncement will fill a significant need and
                         that the costs imposed to meet the rule are justified in relation to overall benefits of the
                         resulting information. In addition, the Board seeks input on costs and benefits as part
                         of its due process.17

                         Materiality
                         The materiality constraint concerns an item's impact on a company's overall financial
                         operations. An item is material if its inclusion or omission would influence or change
                         the judgment of a reasonable person.18 It is immaterial, and therefore irrelevant, if it
                         would have no impact on a decision maker. In short, it must make a difference or a
                         company need not disclose it.
                              The point involved here is of relative size and importance. If the amount involved
                         is significant when compared with the other revenues and expenses, assets and liabil
                         ities, or net income of the company, sound and acceptable standards should be fol
                         lowed in reporting it. If the amount is so small that it is unimportant when compared
                         with other items, applying a particular standard may be considered of less importance.
                             It is difficult to provide firm guidelines in judging when a given item is or is not
                         material. Materiality varies both with relative amount and with relative importance.
                         For example, the two sets of numbers in Illustration 2-6 indicate relative size.

ILLUSTRATION 2-6
                                                                         Company A        Company B
Materiality Comparison
                                             Sales                       $10,000,000       $100,000
                                             Costs and expenses             9,000,000          90,000
                                             Income from operations      $ 1,000,000       $ 10,000

                                             Unusual gain               $     20,000       $    5,000



                             During the period in question, the revenues and expenses, and therefore the net
                         incomes of Company A and Company B, are proportional. Each reported an unusual
                         gain. In looking at the abbreviated income figures for Company A, it appears insignif
                         icant whether the amount of the unusual gain is set out separately or merged with the
                         regular operating income. The gain is only 2 percent of the net income. If merged, it
                         would not seriously distort the net income figure. Company B has had an unusual gain
                         of only $5,000. However, it is relatively much more significant than the larger gain re
                         alized by A. For Company B, an item of $5,000 amounts to 50 percent of its income
                         from operations. Obviously, the inclusion of such an item in ordinary operating income
                         would affect the amount of that income materially. Thus we see the importance of the
                         relative size of an item in determining its materiality.
                             Companies and their auditors generally adopt the rule of thumb that anything un
                         der 5 percent of net income is considered immaterial. However, the SEC indicates that
                         a company may use this percentage for an initial assessment of materiality, but it must


                         16Charles Rivers and Associates, "Sarbanes-Oxley Section 404: Costs and Remediation of
                         Deficiencies" letter from Deloitte andTouche, Ernst and Young, KPMG, and Pricewaterhouse-
                         Coopers to the SEC (April 11, 2005).

                         17For example, as part of its project on "Share-Based Payment" [3], the Board conducted a
                         field study and surveyed commercial software providers to collect information on the costs
                         of measuring the fair values of share-based compensation arrangements.

                         1SSFAC No. 2, par. 132, sets forth the essence of materiality: "The omission or misstatement
                         of an item in a financial report is material if, in the light of surrounding circumstances, the
                         magnitude of the item is such that it is probable that the judgment of a reasonable person
                         relying upon the report would have been changed or influenced by the inclusion or correction
                         of the item." The auditing profession also adopted this same concept of materiality. See
                         "Audit Risk and Materiality in Conducting an Audit," Statement on Auditing Standards No. 47
                         (New York: AICPA, 1983), par. 6.
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                                                                   Third Level: Recognition and Measurement Concepts • 49

   also consider other factors.19 For example, companies can no longer fail to record items
   in order to meet consensus analysts' earnings numbers, preserve a positive earnings
  trend, convert a loss to a profit or vice versa, increase management compensation or
  hide an illegal transaction like a bribe. In other words, companies must consider both
  quantitative and qualitative factors in determining whether an item is material
      The SEC also indicated that in determining materiality, companies must consider
  each misstatement separately and the aggregate effect of all misstatements. For exam
  ple, at one time, General Dynamics disclosed that its Resources Group improved its
  earnings by $5.8 million. At the same time, it disclosed that one of its other subsidiaries
  had taken write-offs of $6.7 million. Although both numbers exceeded the $2.5 million
  that General Dynamics as a whole earned for the year, the company disclosed neither
 as unusual because it considered the net effect on earnings as immaterial. This prac
 tice is prohibited because each item must be considered separately. In addition, even
 though an individual item may be immaterial, it may be considered material when
 added to other immaterial items. Companies must disclose such items.
      Materiality factors in a great many internal accounting decisions, too. Examples of
 such judgments that companies must make include: the amount of classification re
 quired in a subsidiary expense ledger, the degree of accuracy required in prorating ex
 penses among the departments of a company, and the extent to which adjustments
 should be made for accrued and deferred items. Only by the exercise of good judg
 ment and professional expertise can reasonable and appropriate answers be found,
 which is the materiality constraint sensibly applied.


 LIVING IN A MATERIAL WORLD

 The first line of defense for many companies caught "cooking the books" had been to argue that'a
 questionable accounting item is immaterial. That defense did not work so well in the wake of
 accounting meltdowns at Enron and Global Crossing and the tougher rules on materiality issued
 by the SEC (SAB 99).                                                                 y                        What do the
       For example, the SEC alleged in a case against Sunbeam that the company's many immaterial ad            numbers mean?
 justments added up to a material misstatement that misled investors about the company's financial po
 sition. More recently, the SEC called for a number of companies, such as Jack in the Box, McDonald's,
 and AIG, to restate prior financial statements for the effects of incorrect accounting. In some cases, the
 restatements did not meet traditional materiality thresholds. Don Nicholaisen, then SEC Chief Accoun
tant, observed that whether the amount is material or not-material, some transactions appear to be "flat
out intended to mislead investors." In essence he is saying that any wrong accounting for a transac
tion can represent important information to the users of financial statements.
     Responding to new concerns about materiality, blue-chip companies such as IBM and General
  ectric are providing expanded disclosures of transactions that used to fall below the materiality
radar. As a result, some good may yet come from the recent accounting failures.
           r!         K- Br0Wn and J- Wei1' "A ^ More Wonnation b 'Material' After Enron," Wall Street Jour-
Street Ze iT ^^ ^ 2°°2); S" D" J°neS and R' GibsOn' "Restau«nts Serve Up Restatements," Wall
lack, R    QTaTy 26' 2005)' P- C3; and R' McTau8e< "Nicholaisen Says Restatement Needed When Deal
       ousmess Purpose/' Securities Regulation & Law Reporter (May 9, 2005).



Industry Practices
^ other practical consideration is industry practices. The peculiar nature of some indus-
Ple ^i.1"685 concerns sometimes requires departure from basic theory. For exam-
fchS        ~HUtmty comPanies rePort noncurrent assets first on the balance sheet to high-
fair v 1 ""uu ^ caPital^tensive
                        Ptensive nature. Agricultural companies often report cro  crops at
      aiue because        costl to
            because it is costly t develop
                                   dl            t cost figures
                                           accurate     fi         idid
                                                                on individual crops,
find wh Variations from basic theorY are infrequent, yet they do exist. Whenever we
        nat appears to be a violation of basic accounting theory, we should determine

""M
      atenahty," SEC Staff Accounting Bulletin No. 99 (Washington, D.C.: SEC, 1999).
         Case 2:10-md-02179-CJB-DPC Document 8963-81 Filed 03/20/13 Page 14 of 16

   50 • Chapter 2 Conceptual Framework Underlying Financial Accounting

                               whether some pecuUarity of the industry explains the violation before we criticize the
                               procedures followed.

                               Conservatism
                               Few conventions in accounting are as misunderstood as the constramt of conservatism.
                               Conservatism means when in doubt, choose the solution that will be least likely to
                               overstate assets and income. Note that the conservatism convention does not urge that
                               net assets or net income be understated. Unfortunately, some interpret conservatism to
                               mean just that.                                                                                                      .
                                   All that conservatism does, properly applied, is provide a reasonable guide in difficult
                               situations- Refrain from overstatement of net income and net assets. Examples of conser
                               vatism in accounting are the use of the lower-of-cost-or-market approach in valuing inven
                               tories and the rule that companies recognize accrued net losses on firm purchase commit
                               ments' for goods for inventory. When in doubt, it is better to understate than overstate net
                               income and net assets. Of course, if no doubt exists, there is no need to apply this constramt.

                               Summary of the Structure
                               Illustration 2-7 presents the conceptual framework discussed in this chapter. It is sim
                               ilar to Illustration 2-1, except that it provides additional information for each level. We
                               cannot overemphasize the usefulness of this conceptual framework in helping to un
                                derstand many of the problem areas that we examine in later chapters.

    ILLUSTRATION 2-7
    Conceptual Framework
     for Financial Reporting                                        Recognition and Measurement Concepts


                                                         r
                                                 ASSUMPTIONS                            PRINCIPLES                     CONSTRAINTS
                                                                                1. Measurement                        1. Cost-benefit
                                                 1. Economic entity
                                                                                2. Revenue recognition                2. Materiality
                                                 2. Going concern                                                                                  Third level:
                                                                                3. Expense recognition                3. Industry practice
                                                 3. Monetary unit                                                                                 The 'how"—
                                                                                4. Full disclosure                    4. Conservatism
                                                 4. Periodicity
                                                                                                                                                 implementation


                                                                      QUALITATIVE
                                                                    CHARACTERISTICS
                                                                1.Primary qualities
                                                                    A. Relevance                   1. Assets
                                                                       (1) Predictive value        2. Liabilities
                                                                       (2) Feedback value          3. Equity
                                                                                                   4. Investment by owners
                                                                                                                                         Second level: Bridge
                                                                       (3) Timeliness
                                                                    B. Reliability                 5. Distribution to owners            between levels 1 and 3
                                                                       (l)Verifiability            6. Comprehensive income
                                                                       (2) Representational         7. Revenues
                                                                           faithfulness
                                                                                                    8. Expenses
                                                                       (3) Neutrality
                                                                                                     9. Gains
                                                                      Secondary qualities
                                                                                                   10. Losses
                                                                      A. Comparability
                                                                      B. Consistency



                                                                                          OBJECTIVES
                                                                                     Provide information:
                                                                                   1. Useful in investment
                                                                                        and credit decisions
                                                                                   2. Useful in assessing
                                                                                        future cash flows
                                                                                   3. About enterprise
                                                                                      resources, claims
                                                                                                                    First level: The "why"—goals and
                                                                                        to resources, and                purposes of accounting.
You will want to read the
                                                                                        changes in them
CONVERGENCE
CORNER on page 51

For discussion of how
international convergence
efforts relate to the
conceptual framework.
         Case 2:10-md-02179-CJB-DPC Document 8963-81 Filed 03/20/13 Page 15 of 16

   50 • Chapter 2 Conceptual Framework Underlying Financial Accounting

                              whether some peculiarity of the industry explains the violation before we criticize the
                              procedures followed.

                              Conservatism                                                                                             .
                              Few conventions in accounting are as misunderstood as the constraint of conservatism.
                              Conservatism means when in doubt, choose the solution that will be least likely to
                              overstate assets and income. Note that the conservatism convention does not urge that
                              net assets or net income be understated. Unfortunately, some interpret conservatism to
                              mean just that.                                                                                                         .      „      .
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    ILLUSTRATION 2-7
    Conceptual Framework
    for Financial Reporting                                        Recognition and Measurement Concepts


                                                        r
                                                ASSUMPTIONS                            PRINCIPLES                     CONSTRAINTS
                                                                               1. Measurement                        1. Cost-benefit
                                                1. Economic entity
                                                                               2. Revenue recognition                2. Materiality
                                                2. Going concern                                                                                     Third level:
                                                                               3. Expense recognition                3. Industry practice
                                                3. Monetary unit                                                                                    The "how"—
                                                                               4. Full disclosure                    4. Conservatism
                                                4. Periodicity                                                                                     implementation


                                                                     QUALITATIVE
                                                                   CHARACTERISTICS                    ELEMENTS
                                                                 1.Primary qualities
                                                                   A. Relevance                   1. Assets
                                                                      (1) Predictive value        2. Liabilities
                                                                      (2) Feedback value          3. Equity
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                                                                                                                                           Second level: Bridge
                                                                      (3) Timeliness
                                                                   6. Reliability                 5. Distribution to owners            between levels 1 and 3
                                                                      (l)Verifiability            6. Comprehensive income
                                                                      (2) Representational        7. Revenues
                                                                         faithfulness             8. Expenses
                                                                       (3) Neutrality               9. Gains
                                                                   . Secondary qualities
                                                                                                 10. Losses
                                                                     A. Comparability
                                                                   , B. Consistency



                                                                                        OBJECTIVES
                                                                                    Provide information:
                                                                                  1. Useful in investment
                                                                                       and credit decisions
                                                                                  2. Useful in assessing
                                                                                     future cash flows
                                                                                t 3. About enterprise
                                                                                     resources, claims
                                                                                                                   First level: The "why"—goals and
                                                                                     to resources, and t                purposes of accounting.
You will want to read the
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CONVERGENCE
CORNER on page 51

For discussion of how
international convergence
efforts relate to the
conceptual framework.
        Case 2:10-md-02179-CJB-DPC Document 8963-81 Filed 03/20/13 Page 16 of 16


                               CONVERGENCE                                                                CORNER




   >(Jd5 the IASB and the FASB agreed to work on a joint project to develop a common conceptual framework,
 ffiliramework is based on the existing conceptual frameworks underlying U.S. GAAP and iGAAP. The objective
 j||s joint project is to develop a conceptual framework that leads to developing standards that are principle-
      [ and internally consistent and that leads to the most useful financial reporting.




                                                                   ABOUT THE NUMBERS

• The existing conceptual frameworks underlying U.S.        The work on the conceptual framework is being done in phases. As
GAAP and iGAAP are very similar. That is, they are          indicated in the chart below, an exposure draft (ED) of phase A re
organized in a similar manner (objectives, elements,        lated to objectives and qualitative characteristics was issued in 2007.
qualitative characteristics, etc.). There is no real need   In addition, a discussion paper (DP) related to the reporting entity
to change many aspects of the existing frameworks,          (phase D) was also issued in 2007.
other than to converge different ways of discussing
essentially the same concepts.
• The converged framework should be a single                                                                                     Timing not

document, unlike the two conceptual frameworks that          Conceptual Framework Schedule                         2008   2009   determined :

presently exist; it is unlikely that the basic structure
                                                             Phase A: Objectives and qualitative characteristics   ED
related to the concepts will change.
• The IASB framework makes two assumptions. One              Phase B: Elements and recognition                             DP

assumption is that financial statements are prepared
                                                             Phase C: Measurement                                          DP
on an accrual basis; the other is that the reporting
entity is a going concern. The FASB framework                                                                       DP     ED
                                                             Phase D: Reporting entity
discusses accrual accounting extensively but does
not identify it as an assumption, and it only briefly        Phase E: Presentation and disclosure                                    DP

discusses the going concern concept.
                                                                                                                                     DP
                                                             Phase F: Purpose and status
• There is some agreement that the role of financial
reporting is to assist users in decision making.             Phase G: Application to not-for-profit entities                         DP

However, others note that another objective is to
provide information on management's performance,             Phase H: Remaining issues
                                                             (Document type not yet determined)
often referred to as stewardship. It is likely that there
will be much debate about the role of stewardship in
the conceptual framework.




               THE HORIZON

The IASB and the FASB face a difficult task in attempting to update, modify, and complete a converged concep
tual framework. There are many difficult issues. For example: How do we trade off characteristics such as highly
relevant information that is difficult to verify? How do we define control when we are developing a definition of
an asset? Is a liability the future sacrifice itself or the obligation to make the sacrifice? Should a single measure
ment method, such as historical cost or fair value, be used, or does it depend on whether it is an asset or liabil
ity that is being measured? We are optimistic that the new document will be a significant improvement over its
predecessors and will lead to principle-based standards that help users of the financial statements make better
decisions.



                                                                                                                                       51
